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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 SEAN RILEY,

                       Plaintiff,                      Civil Action No. ___________

         v.
                                                       COMPLAINT FOR VIOLATIONS
 ELEVATE CREDIT, INC., JASON                           OF THE SECURITIES EXCHANGE
 HARVISON, JAY BRAY, STEPHEN B.                        ACT OF 1934
 GALASSO, TYLER W.K. HEAD, MICHAEL
 T. PUGH, MANUEL SANCHEZ
 RODRIGUEZ, SAUNDRA D. SCHROCK,
 and BRADLEY R. STROCK,                                JURY TRIAL DEMAND

                       Defendants.

       Plaintiff Sean Riley (“Plaintiff”) alleges the following upon information and belief,

including investigation of counsel and review of publicly available information, except as to those

allegations pertaining to Plaintiff, which are alleged upon personal knowledge:

                                    NATURE OF THE ACTION

       1.      Plaintiff brings this action against Elevate Credit, Inc. (“Elevate” or the

“Company”) and Elevate’s Board of Directors (the “Board” or the “Individual Defendants”) for

their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§

78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, arising out of the Board’s attempt to

sell the Company to Park Cities Asset Management LLC through PCAM Acquisition Corp. and

PCAM Merger Sub Corp (collectively “Park Cities”).

       2.      Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading definitive proxy statement (the “Proxy”) to be

filed with the Securities and Exchange Commission (“SEC”) on January 17, 2023. The Proxy

recommends that Elevate stockholders vote in favor of a proposed transaction (the “Proposed

Transaction”) whereby Elevate is acquired by Park Cities. The Proposed Transaction was first
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disclosed on November 16, 2022, when Elevate and Park Cities announced that they had entered

into a definitive merger agreement (the “Merger Agreement”) pursuant to which Park Cities will

acquire all of the outstanding shares of common stock of Elevate for $1.87 per share (the “Merger

Consideration”). The deal is valued at approximately $67 million and is expected to close in the

1st Quarter of 2023.

       3.     The Proxy is materially incomplete and contains misleading representations and

information in violation of Sections 14(a) and 20(a) of the Exchange Act. Specifically, the Proxy

contains materially incomplete and misleading information concerning the financial projections

prepared by Elevate management, as well as the financial analyses conducted by Morgan Stanley

& Co. LLC (“Morgan Stanley”), Elevate’s financial advisor.

       4.     For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction, including filing a an

amendment to the Proxy with the SEC or otherwise causing an amendment to the Proxy to be

disseminated to Elevate’s stockholders, unless and until the material information discussed below

is included in the Proxy or otherwise disseminated to Elevate’s stockholders. In the event the

Proposed Transaction is consummated without the material omissions referenced below being

remedied, Plaintiff seeks to recover damages resulting from the Defendants’ violations.

                                           PARTIES

       5.     Plaintiff is, and has been at all relevant times, the owner of shares of common stock

of Elevate.

       6.     Defendant Elevate is a corporation organized and existing under the laws of the

State of Delaware. The Company’s principal executive offices are located at 4150 International

Plaza, Suite 300, Fort Worth, Texas 76109. Elevate common stock trades on the New York Stock



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Exchange under the ticker symbol “ELVT.”

        7.    Defendant Jason Harvison has been the President, CEO, and a director of the

Company since 2019.

        8.    Defendant Saundra D. Schrock has been a director since 2016. Defendant Schrock

serves as Chairperson of the Board.

        9.    Defendant Jay Bray has been a director of the since 2021.

        10.   Defendant Stephen B. Galasso has been a director of the Company since 2014.

        11.   Defendant Tyler W.K. Head has been a director of the Company since 2014.

        12.   Defendant Michael T. Pugh has been a director of the Company since 2021.

        13.   Defendant Manuel Sanchez Rodriguez has been a director of the Company since

2021.

        14.   Defendant Bradley R. Strock has been a director of the Company since 2018.

        15.   Nonparty Park Cities Asset Management LLC is an alternative investment firm

based in Dallas, Texas.

        16.   Nonparty PCAM Acquisition Corp. is a Delaware corporation controlled by

investment funds managed by affiliates of Park Cities Asset Management LLC.

        17.   Nonparty PCAM Merger Sub Corp. is a Delaware corporation and a wholly owned

subsidiary of PCAM Acquisition Corp.

                               JURISDICTION AND VENUE

        18.   This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        19.   Personal jurisdiction exists over each Defendant either because the Defendant



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conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        20.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because a significant amount of the conduct at issue took

place and had an effect in this District.

                         FURTHER SUBSTANTIVE ALLEGATIONS

    A. Background of the Company and the Proposed Transaction

        21.     Elevate is a state-licensed lender and service provider to FDIC-regulated banks.

Elevate offers installment loans, lines of credit, and credit cards for individuals that do not qualify

for “prime” lending options. The Company had $324.3 million in installment loans, $207.9 million

in lines of credit, and $50.2 million in credit card receivables in 2021.

        22.     On November 16, 2022, the Company entered into the Merger Agreement with

Park Cities. According to the press release issued that day announcing the Proposed Transaction:

                   Elevate to be Acquired by Park Cities Asset Management

                     Elevate shareholders to receive $1.87 per share in cash

          Elevate to become a private company upon completion of the transaction

        FORT WORTH, Texas— November 16, 2022 - Elevate Credit, Inc. (“Elevate” or
        the “Company”), a leading tech-enabled provider of innovative and responsible
        online credit solutions for non-prime consumers, today announced it has entered
        into a definitive agreement to be acquired by an affiliate of Park Cities Asset
        Management LLC (“Park Cities”), an alternative asset manager focused on
        providing flexible debt solutions.

        Park Cities will acquire Elevate for $1.87 per share in an all-cash transaction at an
        implied value of $67 million. Pursuant to the terms of the merger agreement, 7% of
        shares and shares underlying equity awards held by certain members of Elevate
        management are permitted to rollover into equity of the acquiring entity.

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       Founded in 2014, Elevate has reinvented non-prime credit with online solutions
       that provide financial relief today, and help people build a brighter financial future.
       The Company, along with the banks that license its technology, has originated more
       than $10 billion in credit to nearly 3 million non-prime consumers.

       Park Cities brings decades of experience in consumer and commercial lending,
       extensive corporate finance acumen and significant operating experience that will
       allow Elevate to continue to serve credit-constrained Americans. Park Cities has a
       long relationship with Elevate and currently provides corporate debt as well as
       financing for the Today Card product. Park Cities is also based in Texas and intends
       to maintain Elevate’s headquarters in Fort Worth, Texas.

       “From the beginning, Elevate has strived to be the most trusted and preferred
       alternative credit provider for the ‘New Middle Class’—the more than 100 million
       credit constrained Americans,” said Jason Harvison, Chief Executive Officer of
       Elevate. “I am excited to build on our partnership with Park Cities and continue our
       work as a leader and innovator in the non-prime market. I look forward to working
       with the Park Cities leadership team and believe the Company will greatly benefit
       from their expertise and comprehensive understanding of the credit landscape.”

       “Elevate fills a massive void in the lending market, both through its suite of credit
       solutions and its powerful AI-driven technology platform,” said Alex Dunev of
       Park Cities. “I am confident that we can help advance the Company’s vision while
       it maintains its commitment to serving the non-prime consumer.”

       Transaction Details
       The transaction, which was approved by the Elevate Board of Directors by the
       unanimous vote of those voting, is expected to close in the 1st Quarter of 2023,
       subject to customary closing conditions, including approval by Elevate
       shareholders and receipt of regulatory approvals.

       Upon completion of the transaction, Elevate’s shares will no longer trade on the
       New York Stock Exchange and Elevate will become a private company. The
       Company will continue to operate under the Elevate name and brand.

   B. The Materially Incomplete and Misleading Proxy

       23.     On January 17, 2023, Defendants filed the Proxy with the SEC. The purpose of the

Proxy is, inter alia, to provide the Company’s stockholders with all material information necessary

for them to make an informed decision on whether to vote in favor of the Proposed Transaction.

However, significant and material facts were not provided to Plaintiff. Without such information,

Plaintiff cannot make a fully informed decision concerning whether to vote in favor of the

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Proposed Transaction.

                        Materially Incomplete and Misleading Disclosures Concerning the
                        Management-Prepared Financial Forecasts

       24.     The Proxy discloses management-prepared financial projections for the Company

which are materially misleading. The Proxy indicates that in connection with the rendering of

Morgan Stanley’s fairness opinion, Morgan Stanley reviewed “certain financial projections

prepared by the management of the Company.” Accordingly, the Proxy should have, but failed to,

provide certain information in the projections that Elevate’s management provided to the Board

and Morgan Stanley.

       25.     Notably, Defendants failed to disclose: (a) Elevate’s dividend applied by Morgan

Stanley in the Dividend Discount Analysis; and (b) a summary of the “Stress Case” Projections

used by Morgan Stanley, or a calculation of changes made to the “August Projections” to obtain

the “Stress Case.”

       26.      This omitted information is necessary for Plaintiff to make an informed decision

on whether to vote in favor of the Proposed Transaction.

                        Materially Incomplete and Misleading Disclosures Concerning Morgan
                        Stanley’s Financial Analyses

       27.     With respect to the Discounted Cash Flow Analysis, the Proxy fails to disclose: (a)

Elevate’s terminal values; and (b) the Company’s projected tangible book value as of the

conclusion of the 2026 fiscal year.

       28.     With respect to the Public Trading Comparable Companies Analysis and Precedent

Transactions Multiples Analysis, the Proxy fails to disclose the specific financial metrics and

multiples for the selected companies and transactions studied by Morgan Stanley.

       29.     This information is necessary to provide Company stockholders a complete and

accurate picture of the sales process and its fairness. Without this information, Plaintiff is not fully
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informed as to the defendants’ actions, including those that may have been taken in bad faith, and

cannot fairly assess the process. And without all material information, Plaintiff is unable to make

a fully informed decision in connection with the Proposed Transaction and faces irreparable harm,

warranting the injunctive relief sought herein.

       30.     In addition, the Individual Defendants knew or recklessly disregarded that the

Proxy omits the material information concerning the Proposed Transaction and contains the

materially incomplete and misleading information discussed above.

       31.     Specifically, the Individual Defendants undoubtedly reviewed the contents of the

Proxy before it was filed with the SEC. Indeed, as directors of the Company, they were required

to do so. The Individual Defendants thus knew or recklessly disregarded that the Proxy omits the

material information referenced above and contains the incomplete and misleading information

referenced above.

       32.     Further, the Proxy indicates that on November 15, 2022, Morgan Stanley reviewed

with the Board its financial analysis of the Merger Consideration and delivered to the Board an

oral opinion, which was confirmed by delivery of a written opinion of the same date, to the effect

that the Merger Consideration was fair, from a financial point of view, to Elevate stockholders.

Accordingly, the Individual Defendants undoubtedly reviewed or were presented with the material

information concerning Morgan Stanley’s financial analyses which has been omitted from the

Proxy, and thus knew or should have known that such information has been omitted.

       33.     Plaintiff is immediately threatened by the wrongs complained of herein, and lacks

an adequate remedy at law. Accordingly, Plaintiff seeks injunctive and other equitable relief to

prevent the irreparable injury that he will continue to suffer absent judicial intervention.




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                                     CLAIMS FOR RELIEF

                                             COUNT I

Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9

          34.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          35.   Defendants have filed the Proxy with the SEC with the intention of soliciting

Elevate stockholder support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide the material

information referenced above.

          36.   In so doing, Defendants made materially incomplete and misleading statements

and/or omitted material information necessary to make the statements made not misleading. Each

of the Individual Defendants, by virtue of their roles as officers and/or directors of Elevate, were

aware of the omitted information but failed to disclose such information, in violation of Section

14(a).

          37.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that such communications with stockholders shall not contain “any statement which,

at the time and in the light of the circumstances under which it is made, is false or misleading with

respect to any material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          38.   Specifically, and as detailed above, the Proxy violates Section 14(a) and Rule 14a-

9 because it omits material facts concerning: (i) management’s financial projections; and (ii) the

value of Elevate shares and the financial analyses performed by Morgan Stanley in support of its

fairness opinion.

          39.   Moreover, in the exercise of reasonable care, the Individual Defendants knew or
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should have known that the Proxy is materially misleading and omits material information that is

necessary to render it not misleading. The Individual Defendants undoubtedly reviewed and relied

upon the omitted information identified above in connection with their decision to approve and

recommend the Proposed Transaction; indeed, the Proxy states that Morgan Stanley reviewed and

discussed its financial analyses with the Board on November 15, 2022, and further states that the

Board considered Morgan Stanley’s financial analyses and fairness opinion in connection with

approving the Proposed Transaction. The Individual Defendants knew or should have known that

the material information identified above has been omitted from the Proxy, rendering the sections

of the Proxy identified above to be materially incomplete and misleading.

          40.   The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote if such misrepresentations and omissions are

not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate remedy at

law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully protected

from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

          41.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          42.   The Individual Defendants acted as controlling persons of Elevate within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Elevate and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and



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control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

       43.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to the time the

Proxy was filed with the SEC and had the ability to prevent the issuance of the statements or cause

the statements to be corrected.

       44.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were, thus, directly involved in the making of the Proxy.

       45.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       46.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       47.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by



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their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

                                       RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in his favor and against the Defendants

jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from filing a Definitive Proxy

with the SEC or otherwise disseminating a Definitive Proxy to Elevate stockholders unless and

until Defendants agree to include the material information identified above in the Definitive Proxy;

          B.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy;

          C.     In the event that the transaction is consummated prior to the entry of this Court’s

final judgment, rescinding it or awarding Plaintiff rescissory damages;

          D.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          E.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          F.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

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Dated: January 22, 2023               ROWLEY LAW PLLC


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